                      UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF TEXAS
                            AUSTIN DIVISION
United States of America                         §
                                                 §     CRIMINAL NO:
vs.                                              §     AU:20-CR-00249(1)-RP
                                                 §
(1) Paul Kruse                                   §

  ORDER SETTING FINAL DOCKET CALL AND ALL PENDING
                  MOTIONS HEARING
        IT IS HEREBY ORDERED that the above entitled and numbered case is set for

FINAL DOCKET CALL AND ALL PENDING MOTIONS HEARING in Courtroom 4, on

the Fifth Floor, United States Courthouse, 501 West Fifth Street, Austin, TX, on Friday, July

22, 2022 at 09:00 AM.

      IT IS FURTHER ORDERED that the Clerk of Court shall send a copy of this order to

counsel for defendant, the United States Attorney, United States Pretrial Services and the United

States Probation Office. Counsel for the defendant shall notify the defendant of this setting and,

if the defendant is on bond, advise the defendant to be present at this proceeding.

      IT IS FINALLY ORDERED that in the event the services of a court interpreter are

required, counsel for the defendant shall notify the U.S. District Clerk's Office within five days

of the date of the hearing.

        IT IS SO ORDERED this 28th day of June, 2022.




                                                 ______________________________
                                                 ROBERT PITMAN
                                                 UNITED STATES DISTRICT JUDGE
